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AO 245B (Rev 12/03) Judgment in a Criminal Case
           Sheet I



                                     United States District Court
                                                   SOUTHERN DISTRICT OF GEORGIA
                                                        WAYCROSS DIVISION

           UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                       V.
                     Ramiro Padilla                                          Case Number:              CR507-00015-003
                                                                             USM Number:               13440-021

                                                                             John Andrew Tanner, Jr.
                                                                             Defendant's Attorney


THE DEFENDANT:
[X]        pleaded guilty to a lesser included offense of Count Is
I I        pleaded nolo contendere to Count(s) - which was accepted
           by the court.
11         was found guilty on Count(s)_ after a plea of not guilty.

The defendant has been convicted of the following offense(s):


        Title & Section        Nature of Offense                                                        Offense Ended           Count

                               Conspiracy to possess with intent to distribute, and to distribute,       October 2007              is
        21 U.S.C. § 846        a quantity of cocaine hydrochloride (powder), a quantity of
                               methamphetamine, and a quantity of marihuana

        The defendant is sentenced as provided in pages 2 through - of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

    I      The defendant has been found not guilty on count(s)_.
I          Count(s) (is)(are) dismissed on the motion of the United States.


          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.


                                                                                  October 26, 2009
                                                                                  Date of Imposition of Judgment



                                                                                  Signature of Judge

                                                                                  William T. Moore, Jr.
                                                                                  Chief Judge, U.S. District Court
                                                                                  Name and Title of Judge

                                                                                              1$# q4%7
                                                                                  Date
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        Sheet 2 - Imprisonment

DEFENDANT: Ramiro Padilla
CASE NUMBER: CR507-00015-003
                                                   IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons lobe imprisoned
          for a total term of: 33 months

[X]       The Court makes the following recommendations to the Bureau of Prisons:

          Designation to the facility in Jesup, Georgia, is recommended. Further, it is recommended that the
          defendant participate in the residential substance abuse treatment program while in the custody of the
          Bureau of Prisons and that he receive the maximum amount of treatment available while in custody.

[X]       The defendant is remanded to the custody of the United States Marshal.
  j       The defendant shall surrender to the United States Marshal for this district:

                at [ ]a.m. [ ] p.m. on
          [ ] as notified by the United States Marshal.

[]        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

               before 2 p.m. on
          { ] as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Office,
                                                       RETURN
          I have executed this judgment as follows:




         Defendant delivered on                             to
at                                                    with a certified copy of this judgment.




                                                                                          United States Marshal


                                                                               By
                                                                                      Deputy United States Marshal
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AD 245B (Rev 12/03) Judgment in a Criminal Case                                                                                            Judgment-Page 3 of 6
       Sheet 3 - Supervised Release

DEFENDANT: Ramiro Padilla
CASE NUMBER: CR507-00015-003
                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: 3 years


          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody
of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime,

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the
court.

FI        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future substance abuse.
          (Check, if applicable.)

IX]       The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[X]       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

II        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a student, as
          directed by the probation officer. (Check, if applicable.)

          The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

         If this judgment imposes a tine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule of
Payments sheet of'this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
attached page.

                                             STANDARD CONDITIONS OF SUPERVISION

I)        the defendant shall not leave the judicial district without the permission of the court or probation officer;

2)        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each month;

3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4)        the defendant shall support his or her dependents and meet other family responsibilities:

5)       the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other acceptable
         reasons;

6)       the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7)       the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
         or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8)       the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9)       the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of'a felony,
         unless granted permission to do so by the probation officer:

10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer:

II)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission
         of the court;

13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendants criminal record
         or personal history or characteristics and shall permit the probation officer to make such notification and to confirm the defendant's compliance
         with such notification requirement; and

14)      Any possession, use, or attempted use of any device to impede or evade drug testing shall be a violation of supervised release.
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        Sheet 3C -  supervised Release


DEFENDANT: Ramiro Padilla
CASE NUMBER: CR507-00015-003


                                           SPECIAL CONDITIONS OF SUPERVISION
          The defendant shall participate in a program of testing for drug and alcohol abuse.
2.       The defendant shall participate in a program of treatment for drug and alcohol abuse throughout his term
         of supervision unless otherwise recommended by the treatment provider or the probation officer.
3.       The defendant shall complete 50 hours of community service during the first 6 months of supervision.
4.       The defendant shall submit his person, residence, office, or vehicle to a search conducted by the United
         States Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion
         of contraband or evidence of a violation of a condition of release; failure to submit to a search may be
         grounds for revocation. The defendant shall warn any other residents that the premises may be subject to
         searches pursuant to this condition.

         The defendant shall earn his General Educational Development diploma if he does not do so while in the
         custody of the Bureau of Prisons.




                                                   ACKNOWLEDGMENT
Upon finding of a violation of probation or supervised release, I understand that the court may (1) revoke
supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision.
These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


     (Signed)
                   Defendant                                          Date



                   U. S. Probation Officer/Designated Witness         Date
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AO 24513 (Rev 12/03) Judgment in a Criminal Case:                                                                            Judgment-Page 5 of 6
        Sheet 5 - Criminal Monetary Penalties

DEFENDANT: Ramiro Padilla
CASE NUMBER: CR507-00015-003


                                                CRIMINAL MONETARY PENALTIES
          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6,
                                                            Assessment                     Fine                   Restitution

 Totals:                                                           $100

           The determination of restitution is deferred until -, An Amended Judgment in a Criminal Case (AO 245C) will be entered
          after such a determination,

   1       l'he defendant must make restitution (including community restitution) to the following payees in the amounts listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
         otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
         victims must be paid before the United States is paid.


             Name of Payee                          Total Loss*            Restitution Ordered                   Priority or Percentage
                                                         $                           $



                Totals:


   I      Restitution amount ordered pursuant to plea agreement               $

  I       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
          the fifteenth day after the date ofjudgment, pursuant to 18 U.S.C. § 3612(0. All of the payment options on Sheet 6 may be subject
          to penalties for delinquency and default pursuant to 18 U.S.C. § 36 12(g).
          The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                    The interest requirement is waived for the      [ I fine       [ j restitution.
          I]        The interest requirement for the    I I fine      [ I  restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A. 110, I IOA and I 13A of Title 18 for offenses committed on or after
September 13. 1994, but before April 23, 1996.
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         Sheet 6 - Criminal Monetary Penalties


DEFENDANT: Ramiro Padilla
CASE NUMBER: CR507-00015-003
                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A [X] Lump sum payment of $ 100 due immediately, balance due

                   not later than —;or
                   in accordance with [ ] C, [ ] D, [ I F, or [ J F below; or

B[       J Payment to begin immediately (maybe combined with I ] C, [ ] D, or [ ] F below); or

C[ I         Payment in equal (e.g., weekly, monthly, quarterly) installments ofj_over a period of (e.g., months or years), to commence
             — (e.g., 30 or 60 days) after the date of this judgment; or

I) [ ]       Payment in equal — (e.g., weekly, monthly, quarterly) installments of Lover a period of_ (e.g., months or years), to commence
             _(e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E[       ] Payment during the term of supervised release will commence within — (e.g., 30 or 60 days) after release from imprisonment,
             the court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F[       J   Special instructions regarding the payment of criminal monetary penalties:


Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons
Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

     I       Joint and Several
                 Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
                Amount, and corresponding payee, if appropriate:


     I       The defendant shall pay the cost of prosecution.

             The defendant shall pay the following court cost(s):


             The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (I) assessment; (2) restitution principal; (3) restitution interest; (4) fine principal; (5) fine
interest; (6) community restitution; (7) penalties, and (8) costs, including cost of prosecution and court costs.
